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                                                                                                    OAKUWO
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            4                                   UNITED STATES DISTRICT COURT

            5                                 NORTHERN DISTRICT OF CALIFORNIA

            6

             7    UNITED STATES OF AMERICA,                           CaseNo.l8-mj-71386-MAG-l (KAW)
                                 Plaintiff,
             8
                                                                      Charging District's Case No.
                          V.
             9
                                                                      3:18-CR-00025-NKM-JCH-4
            10    COLE EVAN WHITE,

                                 Defendant.
            11


      c3    12                                COMMITMENT TO ANOTHER DISTRICT

            13          The defendant has been ordered to appear in the Western District of Virginia
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     <+-<
            14   The defendant may need an interpreter for this language:.
M     o

Q _   o     15          The defendant:           (X) will retain an attorney.
on *C

•S n        16                                   ( ) is requesting court-appointed counsel.
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            17          The defendant remains in custody after the initial appearance.
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            19          IT IS ORDERED: The United States Marshal must transport the defendant, together with

            20   a copyof this order, to the charging district and deliver the defendant to the United States Marshal
            21   for that district, or to another officer authorized to receive the defendant. The Marshal or officer

            22   of the charging district should immediately notify the United States Attorney and the Clerk of the
            23   Clerk for that district of the defendant's arrival so that further proceedings may be promptly

            24   scheduled. The Clerk of this district must promptly transmit the papers and any bail to the

            25   charging district.

            26   Dated: jQj j/^
            27
                                                                  /kand!\a. westmore
                                                                 ' United States Magistrate Judge
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